Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 1 of 25 PageID #:18




                               Exhibit 1
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 2 of 25 PageID #:19




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Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 3 of 25 PageID #:20




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Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 4 of 25 PageID #:21
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 5 of 25 PageID #:22
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 6 of 25 PageID #:23
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 7 of 25 PageID #:24
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 8 of 25 PageID #:25
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 9 of 25 PageID #:26
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 10 of 25 PageID #:27
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 11 of 25 PageID #:28
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 12 of 25 PageID #:29
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 13 of 25 PageID #:30
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 14 of 25 PageID #:31
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 15 of 25 PageID #:32
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 16 of 25 PageID #:33
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 17 of 25 PageID #:34
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 18 of 25 PageID #:35
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 19 of 25 PageID #:36
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 20 of 25 PageID #:37
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 21 of 25 PageID #:38
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 22 of 25 PageID #:39
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 23 of 25 PageID #:40
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 24 of 25 PageID #:41
Case: 1:25-cv-04200 Document #: 1-1 Filed: 04/17/25 Page 25 of 25 PageID #:42
